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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF OHIO
                                        WESTERN DIVISION

Tyler Gischel,                                          :
                                                        :           Case No. 1:17-cv-475
           Plaintiff,                                   :
                                                        :           Judge Susan J. Dlott
                    v.                                  :
                                                        :           Order Granting in Part and Denying in
University of Cincinnati, et al.,                       :           Part Motion to Reconsider
                                                        :
           Defendants.                                  :


           This matter is before the Court on Plaintiff’s Motion to Reconsider (Doc. 21) the Court’s

Amended Order Granting in Part and Denying in Part Defendants’ Motion to Dismiss the

Plaintiff’s First Amended Complaint (“Amended Dismissal Order”) (Doc. 16).1 Plaintiff Tyler

Gischel argues that the Sixth Circuit’s recent decision in Doe v. Miami University, 882 F.3d 579

(6th Cir. 2018)—released after the Court issued the Amended Dismissal Order—warrants

reconsideration of the Court’s decision to dismiss his Title IX selective enforcement, equal

protection, and substantive due process claims. Defendants respond that dismissal of the claims

remains proper even after the Doe v. Miami University decision. For the reasons that follow, the

Court will GRANT IN PART AND DENY IN PART the Motion for Reconsideration.

I.         ANALYSIS

A.         Title IX Selective Enforcement

           A plaintiff asserting a Title IX selective enforcement claim must prove that “a similarly-

situated member of the opposite sex was treated more favorably than the plaintiff due to his or

her gender.” Doe v. Cummins, 662 F. App’x 437, 452 (6th Cir. 2016). This Court read Gischel’s

First Amended Complaint broadly to assert a selective enforcement claim based on an allegation


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     The Court issued an Amended Dismissal Order to correct typographical errors in the initial Order.

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that the University of Cincinnati (“UC”) did not investigate or discipline Jennifer Schoewe for

sexual assault despite her kissing Gischel and touching his penis without his consent. (Doc. 10 at

PageID 779, 781.) The Court dismissed Plaintiff’s selective enforcement claim in the Amended

Dismissal Order holding in part that “the accuser [Schoewe] cannot be the similarly-situated

individual to whom the accused student plaintiff [Gischel] is compared” for purposes of

demonstrating the gender bias underlying a selective enforcement claim. (Doc. 16 at PageID

1536.) The Court cited two district court decisions in support, but the Sixth Circuit in Doe v.

Miami University undercuts this portion of the Court’s rationale.

       In Doe v. Miami University, the female student alleged that she and the accused male

plaintiff had consensual sexual contact, before the accused male plaintiff engaged in

nonconsensual sexual touching. 882 F.3d at 585–86. A resident advisor, who heard about the

incident secondhand, reported the incident to Miami University. Id. at 586. The female student

admitted to drinking on the night of the incident, but asserted that she had sobered up before

engaging in the sexual acts, but the accused male student was intoxicated and had an incomplete

recollection of the sexual encounter. Id. The Sixth Circuit found that Miami’s decision to

investigate and discipline the accused male plaintiff for sexual assault, but not the female

student, was possible evidence of gender bias because the male plaintiff was too intoxicated to

consent to sexual acts under Miami University’s policies. Id. at 593–94, 596–97. It appears,

therefore, that the Sixth Circuit will allow the female accuser to be the similarly-situated person

to whom the accused male plaintiff is compared to determine if disparate treatment has occurred.

       Defendants respond that Doe v. Miami University, nonetheless, does not require a

reversal of the Amended Dismissal Order as to the selective enforcement claim because this

Court also stated that Gischel did not complain to UC that Schoewe’s act of touching his penis



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was unwelcome. (Doc. 16 at PageID 1536.) The Court disagrees. It is true that Gischel did not

make a formal, or even informal, complaint to UC that he did not consent to having his penis

touched or that he considered such touching to be unwelcome. However, the Sixth Circuit found

in Doe v. Miami University that the male accused student did not need to make a formal

complaint of sexual assault against his female accuser to Miami University because Miami

University had actual knowledge that male student might have been too intoxicated to consent to

sexual activity under university policy. 882 F.3d at 591. The Sixth Circuit stated in relevant part

as follows:

         The district court was incorrect to suggest that John [Doe] needed to have made a
         formal complaint about Jane [Doe] in order to plead a deliberate-indifference
         claim. . . . The University did have actual knowledge that Jane had kissed John
         while John was so intoxicated that he could not remember the events of the night
         the next morning—indicating that John was inebriated to the extent that he could
         not consent under Miami University’s policies. Thus, John’s failure to initiate his
         own complaint against Jane for her sexual misconduct has no impact on the actual
         knowledge of the defendants.

Id. (internal citations omitted).

         The situation here is analogous. Gischel asserts in the First Amended Complaint that

both he and Schoewe had been drinking and were intoxicated on the night of their sexual

encounter.2 (Doc. 10 at PageID 754, 755, 759, 762, 771, 775.) UC was told during the

investigation of whether Gischel assaulted Schoewe that Gischel had consumed two drinks of a

homemade concoction of “jungle juice” and as many as four or five beers. (Doc. 1-12 at PageID

367, 370, 374, 390.) He was described by a witness as “pretty drunk” and described himself as

“intoxicated.” (Id. at PageID 374, 390.) UC had knowledge that Schoewe kissed Gischel and

touched his penis when he arguably was in this intoxicated state. (Id. at PageID 339, 370, 395.)

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  Gischel, perhaps alternatively, asserts that UC’s written policies are contradictory as to whether a person must be
“incapacitated,” and not merely “intoxicated,” to be legally unable to provide consent. (Compare Doc. 1-2 at
PageID 107–08 with Id. at PageID 119, 124.)


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Gischel did not have to make a complaint when UC had actual knowledge of these facts. See

Doe v. Miami Univ., 882 F.3d at 591. UC’s Policy on Sex Offenses states that “[l]egally,

consent cannot be given while intoxicated or medicated since these states inhibit an aware state

of mind.” (Doc. 1-2 at PageID 119, 124.) Therefore, an argument can be made that Gischel

could not consent to Schoewe’s kissing and touch. UC, nonetheless, only investigated and

disciplined Gischel for sexual assault. The Court agrees that these factual allegations are

sufficient after Doe v. Miami University to state a claim for Title IX selective enforcement

against UC.3

B.      Equal Protection Claims

        A plaintiff asserting an equal protection claim “must allege that the state made a

distinction which burdened a fundamental right, targeted a suspect class, or intentionally treated

one differently from others similarly situated without any rational basis for the difference.” Doe

v. Miami Univ., 882 F.3d at 595 (internal quotation and citation omitted). Gischel asserted equal

protection claims against the Individual Defendants in their official capacities for injunctive

relief and in their personal capacities for damages. The Court dismissed the equal protection

claims in the Amended Dismissal Order finding that Gischel could not support the claims based

on the allegation that UC treated Schoewe more favorably than it treated him. (Doc. 16 at

PageID 1542–43.) However, similar to the Title IX selective enforcement claim, the analysis

changes after Doe v. Miami University.

        Gischel has stated plausible claims that Defendants Jyl Shaffer, UC’s former Title IX

Coordinator, Daniel Cummins, UC’s Assistant Dean of Students and the Director of the Office of

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  The Court’s analysis should not be read to imply that Schoewe’s acts of kissing and touching Gischel’s penis
without his consent could be considered sexual assault of the same type or degree that Gischel is accused of
perpetrating against Schoewe later that night at his apartment. Nonetheless, UC’s failure to even investigate
whether Schoewe’s conduct amounted to a sexual offense under its policy is an allegation of selective enforcement
and unequal treatment at the dismissal stage.

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Judicial Affairs (“OUJA”), and William Richey, a UC Police Department Detective, violated his

equal protection rights by investigating and disciplining him for sexual assault, but neither

investigating nor disciplining Schoewe. Gischel pleaded facts indicating that Shaffer and

Detective Richey discovered during their investigation that Gischel was intoxicated, and thus

could not have given consent under UC’s Policy on Sex Offenses, when Schoewe kissed him and

touched his penis. Gischel pleaded facts that Cummins placed Gischel on an interim suspension,

received a copy of the investigative report, and oversaw the OUJA proceedings against Gischel

prior to the ARC hearing. (Doc. 16 at PageID 734, 758, 763–64.) Nonetheless, Shaffer,

Cummins, and Detective Richey investigated and brought a disciplinary action against only

Gischel, and not against Schoewe. These allegations of disparate treatment are sufficient at the

dismissal stage under Doe v. Miami University to state equal protection claims against Shaffer,

Cummins, and Detective Richey in their official capacities. 882 F.3d at 595–97.

       Further, as to the personal capacity claims, the Sixth Circuit concluded in Doe v. Miami

University that the analogous facts were sufficient to overcome a qualified immunity defense as

well. Id. at 604. The Sixth Circuit stated summarily that the “right to freedom from invidious

[gender] discrimination under the Equal Protection Clause was certainly clearly established at all

times pertinent to this action.” Id. (quoting Rondigo, L.L.C. v. Twp. of Richmond, 641 F.3d 673,

681 (6th Cir. 2011)). This Court must follow the Sixth Circuit and hold that the equal protection

claims against Shaffer, Cummins, and Detective Richey in their personal capacities are not

barred by the assertion of qualified immunity.

       Nonetheless, the Court finds that the personal capacity claims against Defendants Brice

Mickey, Carol Tonge Mack, Arnett Glassco, and Rachel Smith are barred by qualified immunity.

Qualified immunity applies when a defendant has not violated a plaintiff’s constitutional right.



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Pearson v. Callahan, 555 U.S. 223, 232 (2009); Saucier v. Katz, 533 U.S. 194, 200–01 (2001).

“Each defendant’s liability must be assessed individually, based on his [or her] own actions.”

Binay v. Bettendorf, 601 F.3d 640, 650 (6th Cir. 2010). Gischel has not stated any allegations in

the First Amended Complaint indicating that Defendants Mickey, Tonge Mack, Glassco, or

Smith played a role in determining which students to investigate or bring disciplinary action

against for alleged violations of UC’s sexual harassment or sexual assault policies. They

participated in the ARC hearing or appeal process in which Gischel was held responsible for

violating UC’s Student Code of Conduct, but they had no opportunity to adjudicate any

disciplinary charge against Schoewe. Accordingly, they cannot be said to have treated Gischel in

a disparate manner vis-à-vis Schoewe or any other similarly-situated female student so as to be

liable for an equal protection violation.

        In conclusion, the Court will grant the Motion to Reconsider to the extent that the official

and personal capacity claims against Defendants Shaffer, Cummins, and Detective Richey for

equal protection violations will not be dismissed.

C.      Substantive Due Process Claims

        “Substantive-due-process claims are loosely divided into two categories: (1) deprivations

of a particular constitutional guarantee; and (2) actions that shock the conscience.” Doe v.

Miami Univ., 882 F.3d at 598 (internal quotation and citation omitted). Plaintiff Gischel asserted

substantive due process claims against the Individual Defendants in their official capacities for

injunctive relief and in their personal capacity for damages. This Court determined in the

Amended Dismissal Order that Gischel’s substantive due process claims failed as a matter of law

because his equal protection claims failed. (Doc. 16 at PageID 1542–43.) A student’s claim for

a violation of a substantive due process right to continued education at a public university does



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not exist if the student’s equal protection rights were not violated. See Martinson v. Regents of

Univ. of Mich., 562 F. App’x 365, 375 (6th Cir. 2014); Bell v. Ohio State Univ., 351 F.3d 240,

251 (6th Cir. 2003).

         The survival of the equal protection claims, however, does not necessarily mean that the

substantive due process claims survive as well. “[T]he Supreme Court never has held that the

interest in continued education at a public university constitutes a fundamental property or

liberty interest that finds refuge in the substantive protections of the Due Process Clause.” Doe

v. Miami Univ., 882 F.3d at 598 (quoting Martinson, 562 F. App’x at 375). The Sixth Circuit

refused to recognize in Doe v. Miami University “an independent property interest in pursuing a

post-secondary education continuously, free from a suspension of less than four months.” Id.

The Sixth Circuit also refused to find that the suspension of the accused male plaintiff for four

months shocked the conscience. Id. at 599. The discipline in this case was greater—Gischel was

expelled from UC—but the fact remains that Gischel has not identified a single case in which a

federal court has concluded that substantive due process rights were violated in the university

discipline context. The Court will not reconsider its dismissal of Gischel’s official capacity or

personal capacity substantive due process claims.

II.      CONCLUSION

         For the foregoing reasons, the Motion to Reconsider (Doc. 21) the Amended Dismissal

Order is GRANTED IN PART and DENIED IN PART. It is granted insofar as the Court will

not dismiss the Title IX selective enforcement claim against UC nor the equal protection claims

against Defendants Jyl Shaffer, David Cummins, and William Richey in their official and

personal capacities. It is denied in all other respects.

IT IS SO ORDERED.



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   Dated this _26th__ day of ____June_____, 2018.

                                     BY THE COURT:


                                     s/Susan J. Dlott_______
                                     Susan J. Dlott
                                     United States District Judge




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